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                                 UNITED STATES DISTRICT COURT
                                    Northern District of Illinois
                                    219 South Dearborn Street
                                      Chicago, Illinois 60604

Thomas G. Bruton                                                                     312-435-5670
Clerk



Date: 11/12/2021                                      Case Number: 1:18-cv-03935

Case Title: Clements et al v. City of Elgin et al     Judge: John J. Tharp, Jr


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